                         IN THE UNITED STATES DISTSRICT COURT
                        NORTHERN DISTRICT, NORTHERN DIVISION

  IN RE:                                        )
                                                )
  H&B HOLDINGS, INC.                            )   CASE NO. 19-82417-CRJ-11
                                                )
           Debtor                               )   CHAPTER 11


                    MOTION TO CONTINUE MEETING OF CREDITORS

        COMES NOW, Stuart M. Maples, as attorney for the debtor, and moves this Honorable

 Court for a continuance of the Meeting of Creditors [Doc. 4] scheduled in the above referenced

 matter for September 10, 2019, and as grounds therefore states that he will be out of the country

 from September 6, 2019 through September 15, 2019. Counsel requests that the meeting be

 rescheduled to the earliest date after September 15, 2019.

        WHEREFORE, premises considered, counsel for the debtor prays that this Court continue

 the Meeting of Creditors currently scheduled for September 10, 2019, to the earliest date available

 after September 15, 2019, and for such other and further relief as this Court deems just and proper.



                                                              /s/Stuart M. Maples
                                                              STUART M. MAPLES

 MAPLES LAW FIRM, PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 (256) 489-9779 – Telephone
 (256) 489-9720 – Facsimile
 smaples@mapleslawfirmpc.com




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                                 CERTIFICATE OF SERVICE

         I hereby certify that I have served a copy of the foregoing by the method stated below on
 the following on August 14, 2019.

 Richard Blythe
 Bankruptcy Administrator
 P.O. Box 3045
 Decatur, AL 35602
 Via email: richard_blythe@alnba.uscourts.gov

 All parties requesting notice via the Court’s ECF system

 Via U.S. Mail to all creditors on matrix



                                                     /s/ Stuart M. Maples
                                                     OF COUNSEL




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